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AO 458 (Rev. 06/09) Appearance of Counsel

 

 

 

 

UNITED STATES DISTRICT COURT

for the
District of Columbia [+]
United States of America )
Plaintiff )
v. ) Case No. 24-cr-00028-APM
Thomas Edward Caldwail et al )
Defendant }
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record

I am admitted or otherwise guthorized to practice in this court, and I appear in this case as counsel for:

Thomas Edward Caldwell

  
  

Date: 02/08/2021 nS

\'g signature

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